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EXHIBIT 2
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a/k/a Abu Muslim al Austraili
afk/a Muhammed Dawood

AIDING THE ENEMY

}
UNITED STATES )
) CHARGES:
Vv. ) CONSPIRACY;
) ATTEMPTED MURDER BY AN
DAVID MATTHEW HICKS ) UNPRIVILEGED BELLIGERENT;
)
)
)

David Matthew Hicks (a/k/a Abu Muslim ai Austraih, a‘k’a Muhammed Dawood) is a

person subject to trial by Military Commission. At all times material to the charges:

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JURISDICTION

. Jurisdiction for this Military Commission is based on the President's determination of July 3.
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2003 that David Matthew Hicks (a/k/a Abu Muslim al Austraili, a‘k’a Muhammed Dawood,
hereinafter “Hicks”) is subject to his Military Order of November 13, 2001.

Hicks’ charged conduct is triable by a military commission.

BACKGROUND

Hicks was born on August 7, 1975 in Adelaide, Australia.

On or about May 1999, Hicks traveled to Tirana, Albania and joined the Kosovo Liberation.
Army (KLA), a paramilitary organization fighting on behalf of Albanian Muslims. Hicks
completed basic military training at a KLA camp and engaged in hostile action before
returning to Australia.

While in Australia, Hicks converted from Christianity to Islam. On or about November
1999, he traveled to Pakistan where, in early 2000, he joined a terrorist organization known
as Lashkar e Tayyiba (LET), or “Army of the Righteous.”

a. LET is the armed wing of Markaz Dawa al Irshad (a/k/a Markaz Jamat al Dawa),
a group formed by Hafiz Mohammed Saeed and others.

b. LET’s known goals include violent attacks against property and nationals (both
rilitary and civilian) of India and other countries in order to seize control of
Indian-held Kashmir and violent opposition of Hindus, Jews, Americans, and
other Westerners.

c. Starting around 1990, LET established training camps and guest houses, schools,
and other operations primarily in Pakistan and Afghanistan for the purpose of
training and supporting violent attacks against property and nationals (both
military and civilian) of India and other countries.

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d. Since 1990, members and associates of LET have conducted numerous attacks on
military and civilian personnel and property in Indian-controlled Kashmir and
India.

e, In 1998, Saeed called for holy war against the United States after U.S. missile
attacks against terrorist training facilities in Afghanistan killed LET members.

f. On April 23, 2000, in a bulletin posted on the internet, LET claimed that it
recently killed Indian soldiers and destroyed an Indian government building, both
in Indian Kashmir.

After joining LET, Hicks trained for two months at LET’s Mosqua Aqsa camp in Pakistan.
His training included weapons familiarization and firing, map reading and land navigation,
and troop movements.

Following training at Mosqua Aqsa, Hicks, along with LET associates, traveled to a border
region between Pakistani-controlled Kashmir and Indian-controlled Kashmir, where he
engaged in hostile action against Indian forces.

On or about January 2001, Hicks, with funding and a letter of introduction provided by LET,
traveled to Afghanistan to attend al Qaida terrorist training camps.

On or about early December 2001, Hicks was captured near Baghian, Afghanistan.

GENERAL ALLEGATIONS (AL QAIDA)

Al Qaida (“the Base”), was founded by Usama bin Laden and others in or about 1989 for the
purpose of opposing certain governments and officials with force and violence.

Usama bin Laden is recognized as the emir (prince or leader) of al Qaida.

A purpose or goal of al Qaida, as stated by Usama bin Laden and other al Qaida leaders, is to
support violent attacks against property and nationals (both military and civilian) of the
United States and other countries for the purpose of, inter alia, forcing the United States to
withdraw its forces from the Arabian Peninsula and in retaliation for U.S. support of Israel.

Al Qaida operations and activities are directed by a shura (consultation) council composed of
committees, including: political committee; military committee; security committee; finance
committee; media committee; and religious/legal committee.

Between 1989 and 2001, al Qaida established training camps, guest houses, and business
operations in Afghanistan, Pakistan, and other countries for the purpose of training and
supporting violent attacks against property and nationals (both military and civilian) of the
United States and other countries.

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In August 1996, Usama bin Laden issued a public “Declaration of Jihad Against the
Americans,” in which he called for the murder of U.S. military personnel serving on the
Arabian peninsula.

In February 1998, Usama bin Laden, Ayman al Zawahiri, and others, under the banner of
“International Islamic Front for Fighting Jews and Crusaders,” issued a fatwa (purported
religious ruling) requiring all Muslims able to do so to kill Americans — whether civilian or
military — anywhere they can be found and to “plunder their money.”

On or about May 29, 1998, Usama bin Laden issued a statement entitled “The Nuclear Bomb
of Islam,” under the banner of the “International Islamic Front for Fighting Jews and
Crusaders,” in which he stated that “‘it is the duty of the Muslims to prepare as much force as
possible to terrorize the enemies of God.”

Since 1989 members and associates of al Qaida, known and unknown, have carried out
numerous terrorist attacks, including, but not limited to: the attacks against the American
Embassies in Kenya and Tanzania in August 1998; the attack against the USS COLE in
October 2000; and the attacks on the United States on September 11, 2001,

CHARGE 1; CONSPIRACY

David Matthew Hicks (a/k/a Abu Muslim al Austraili, a‘k/a Muhammed Dawood, hereinafter
“Hicks”), in Afghanistan, from on or about January 1, 2001 to on or about December 2001,
willfully and knowingly joined an enterprise of persons who shared a common criminal
purpose and conspired and agreed with Muhammad Atef (a/k/a Abu Hafs al Masri), Saif al
Adel, Usama bin Laden, and other members and associates of the al Qaida organization,
known and unknown, to commit the following offenses triable by military commission:
attacking civilians; attacking civilian objects; murder by an unprivileged belligerent;
destruction of property by an unprivileged belligerent; and terrorism.

In furtherance of this enterprise and conspiracy, Hicks and other members of al Qaida
committed the following overt acts:

a, On or about January 2001, Hicks, with funding and a letter of introduction
provided by LET, traveled to Afghanistan to attend al Qaida terrorist training
camps. Upon arriving in Afghanistan, Hicks went to an al Qaida guest house,
where he met fbn Sheikh ai Libi, a top-ranking al Qaida member, and others.
Hicks turned in his passport and indicated that he would use the duny-a, or alias,
“Muhammed Dawood.”

b. Hicks then traveled to and trained at al Qaida’s al Faroug camp located outside
Qandahar, Afghanistan. In al Qaida’s eight-week basic training course, Hicks
trained in weapons familiarization and firing, land mines, tactics, topography,
field movements, and basic explosives.

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c. On or about April 2001, Hicks returned to al Faroug and trained in al Qaida’s
guerilla warfare and mountain tactics training course. This seven-week course
included: marksmanship; smali team tactics; ambush; camouflage; rendezvous
techniques; and techniques to pass intelligence to al Qaida operatives.

d. While Hicks was training at al Farouq, Usama bin Laden visited the camp on
several occasions. During one visit, Hicks questioned bin Laden regarding the
lack of English al Qaida training material; accepting bin Laden’s advice, Hicks
began to translate the training camp materials from Arabic to English.

e. After Hicks completed his first two al Qaida training courses, Muhammad Atef
(a/k/a Abu Hafs al Masri), then the military commander of al Qaida, summoned
and interviewed Hicks about his background and the travel habits of Australians.
Saif al Adel, then the deputy military commander of al Qaida, was also present at
this interview. At the conclusion of this meeting, Muhammed Atef recommended
Hicks for attendance at al Qaida’s urban tactics training course at Tarnak Farm.

f£. Onor about June 2001, Hicks traveled to Tarnak Farm and participated in this
course. A mock city was located inside the camp, where trainees were taught how
to fight in an urban environment. Training also included: marksmanship, use of
assault and sniper rifles, rappelling; kidnapping techniques; and assassination
methods.

g. On or about August 2001, Hicks participated in an advanced al Qaida course on
information collection and surveillance in an apartment in Kabul, Afghanistan.
This course included “practical application” where Hicks and others conducted
surveillance of various targets in Kabul, including the U.S. and British embassies,
and submitted reports.

h. Following the information collection and surveillance course, Muhammed Atef
again interviewed Hicks, and asked if he would be willing to undertake a “martyr
mission,” meaning an attack wherein Hicks would kill himself as well as the
targets of the attack.

i. At anal Qaida guest house in Qandahar, as well as at al Qaida training camps and
other locations in Afghanistan, Hicks received instruction from al Qaida

associates on their interpretation of Islam, the meaning and obligations of jihad,
and other topics.

j. On or about early September 2001, Hicks traveled to Pakistan to visit a friend.
After watching television footage of the September 11, 2001 attacks on the United
States, Hicks returned to Afghanistan to rejoin his al Qaida associates.

k. Arriving in Qandahar, Afghanistan, Hicks reported to Saif al Adel, who was

assigning individuals to locations where they were to fight alongside other al
Qaida associates against U. S. and Coalition forces, Given a choice of three

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different locations, Hicks chose to join a group of al Qaida fighters near the
Qandahar Airport. Armed with an AK-47 automatic mfle, ammunition, and
grenades, Hicks traveled with his al Qaida associates to the Qandahar Airport.

1. On or about October 2001, after Coalition bombing operations commenced, Hicks
joined an armed group outside the airport, where they guarded a Taliban tank.

m. After guarding the tank for approximately one week, Hicks, still armed with the
AK-47 rifle, ammunition, and grenades, traveled with an LET acquaintance to
Konduz, Afghanistan, arriving around November 9, 2001. There, he joined
others, including John Walker Lindh, who were engaged in combat against
Coalition forces.

CHARGE 2: ATTEMPTED MURDER BY AN
UNPRIVILEGED BELLIGERENT

David Matthew Hicks (a/k/a Abu Muslim al Austraili, a/k/a Muhammed Dawood), in
Afghanistan between on or about September 11, 2001 and December 1, 2001, as a
perpetrator, co-conspirator, member of an enterprise of persons who shared a common
criminal purpose, an aider or abettor, or some combination thereof, attempted to murder
divers persons by directing small arms fire, explosives, and other means intended to kill
American, British, Canadian, Australian, Afghan, and other Coalition forces, while he did not
enjoy combatant immunity and such conduct taking place in the context of and associated
with armed conflict.

CHARGE 3: AIDING THE ENEMY

David Matthew Hicks (a/k/a Abu Muslim al Austraili, a/k/a Muhammed Dawood), in
Afghanistan between on or about January 1, 2001, and December 1, 2001, intentionally aided
the enemy, to wit: al Qaida and the Taliban, such conduct taking place in the context of and
associated with armed conflict.

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